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                            IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


 J.O.P., et al.,

         Plaintiffs,
                                                              Civil Action No.
         v.                                                   8:19-CV-01944-SAG

 U.S. Department of Homeland Security, et al.,

         Defendants.


                                                ORDER

        For the reasons stated on the record at this morning’s status conference, it is this 6th day of May

2025, ORDERED that:


         1. Defendants’ Motion to Vacate Section Two of the Court’s Order Granting Plaintiffs’ Motion
            to Enforce the Settlement Agreement or, in the Alternative, to Stay Section Two Pending
            Appeal, ECF 261, is DENIED IN PART and GRANTED IN PART;

         2. Defendants’ motion to vacate Section Two of ECF 254 is DENIED;

         3. Defendants’ motion to stay Section 2 of ECF 254 is GRANTED until close of business on
            Thursday, May 8, 2025 to permit Defendants to file an appeal. Should no appeal be filed by
            that date, the Court will amend ECF 254 to impose a deadline for action to be taken in
            compliance with Section 2; and

         4. The Court amends its Order at ECF 266 to add minor redactions to ECF 268, Exhibit A,
            USCIS Indicative Asylum Decision. The Clerk is directed to file an updated version of
            Exhibit A, USCIS Indicative Asylum Decision with the additional redactions.



Dated: May 6, 2025                                             /s/
                                                      Stephanie A. Gallagher
                                                      United States District Judge
